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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


LAURA CICCARELLO, Individually and            Case No.
On Behalf of All Others Similarly Situated,
                                              CLASS ACTION COMPLAINT FOR
                             Plaintiff,       VIOLATIONS OF THE FEDERAL
                                              SECURITIES LAWS
              v.

ALIBABA GROUP HOLDING LIMITED,                JURY TRIAL DEMANDED
DANIEL ZHANG, and MAGGIE WU,

                             Defendants.
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       Plaintiff Laura Ciccarello (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, her counsel’s investigation,

which includes without limitation: (a) review and analysis of regulatory filings made by Alibaba

Group Holding Limited (“Alibaba” or the “Company”) with the United States (“U.S.”) Securities

and Exchange Commission (“SEC”); (b) review and analysis of press releases and media reports

issued by and disseminated by Alibaba; and (c) review of other publicly available information

concerning Alibaba.

                        NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Alibaba securities between October 21, 2020 and November 3, 2020, inclusive (the

“Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.      Alibaba is an online and mobile commerce company. Alibaba owns a 33% equity

interest in Ant Small and Micro Financial Services Group Co., Ltd. (“Ant Group”), a financial

technology company that is best known for operates Alipay, one of the largest mobile and online

payments platforms.

       3.      On July 20, 2020, Ant Group announced that it had begun the process of a

concurrent initial public offering (“IPO”) on the Shanghai and Hong Kong stock exchanges. On

October 26, 2020, Ant Group priced its IPO and was set to raise $34.5 billion, making it the

largest public offering in history.

       4.      On November 2, 2020, Financial Times reported that Chinese regulators had met

with Ant Group’s controller Jack Ma, executive chairman Eric Jing, Chief Executive Officer
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Simon Hu. The article stated that, though regulators did not provide details, “the Chinese word

used to describe the interview – yuetan – generally indicates a dressing down by authorities.”

The article also included a statement from Ant Group that it will “implement the meeting

opinions in depth.”

       5.      On November 3, 2020, the IPO was suspended because Ant Group “may not meet

listing qualifications or disclosure requirements due to material matters” related to the meeting

with regulators the previous day and “the recent changes in the Fintech regulatory environment.”

       6.      On this news, the Company’s share price fell $25.27, or 8%, to close at $285.57

per share on November 3, 2020, on unusually heavy trading volume.

       7.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that Ant

Group did not meet listing qualifications or disclosure requirements for certain material matters;

(2) that certain impending changes in the Fintech regulatory environment would impact Ant

Group’s business; (3) that, as a result of the foregoing, Ant Group’s IPO was reasonably likely to

be suspended; and (4) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects were materially misleading and/or lacked a

reasonable basis.

       8.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.




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                                  JURISDICTION AND VENUE

        9.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        11.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,

occurred in substantial part in this Judicial District.

        12.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        13.     Plaintiff Laura Ciccarello, as set forth in the accompanying certification,

incorporated by reference herein, purchased Alibaba securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

        14.     Defendant Alibaba is incorporated under the laws of Cayman Islands with its

principal executive offices located in Hong Kong. Alibaba’s American Depositary Shares

(“ADSs” or “shares”) trades on the New York Stock Exchange (“NYSE”) under the symbol

“BABA.”

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       15.     Defendant Daniel Zhang (“Zhang”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       16.     Defendant Maggie Wu (“Wu”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       17.     Defendants Zhang and Wu (collectively the “Individual Defendants”), because of

their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material

non-public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that

the positive representations which were being made were then materially false and/or

misleading. The Individual Defendants are liable for the false statements pleaded herein.

                                 SUBSTANTIVE ALLEGATIONS

                                           Background

       18.     Alibaba is an online and mobile commerce company. Alibaba owns a 33% equity

interest in Ant Group, a financial technology company that is best known for operates Alipay,

one of the largest mobile and online payments platforms.

       19.     On July 20, 2020, Ant Group announced that it had begun the process of a

concurrent IPO on the Shanghai and Hong Kong stock exchanges.




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                                Materially False and Misleading
                           Statements Issued During the Class Period

        20.     The Class Period begins on October 21, 2020. On that day, Alibaba filed a Form

6-K with the SEC. Attached as Exhibit 99.1 was a statement entitled “Ant Group has announced

its arrangements for initial public offering and listing,” stating in relevant part:

        Ant Group Co., Ltd. (“Ant Group”), an unconsolidated related party of Alibaba
        Group Holding Limited (“Alibaba”), today published an announcement on the
        Shanghai Stock Exchange regarding the arrangements for its initial public
        offering and listing on the Shanghai Stock Exchange STAR board (the “A Share
        Offering”) and certain information regarding its concurrent initial public offering
        and listing on The Stock Exchange of Hong Kong Limited (the “H Share
        Offering” and together with the A Share Offering, the “Offering”).

        Alibaba currently holds ordinary shares of Ant Group and Class C shares of Ant
        International Co., Limited (“Ant International”), a subsidiary of Ant Group, that
        together represent 33% of the equity interest in Ant Group, assuming the
        completion of the redemption and subscription arrangement described below.

        The A Share Offering and H Share Offering will initially comprise 1,670,706,000
        A shares and 1,670,706,000 H shares, respectively. Pursuant to a redemption and
        subscription arrangement, Ant International will redeem all Class B and Class C
        shares of Ant International and Ant Group will issue 3,256,446,324 H shares to
        holders of Class B shares and Class C shares of Ant International (including
        1,158,572,686 H shares to Alibaba). In addition, for each of the A Share Offering
        and the H Share Offering, Ant Group expects to grant the underwriters an over-
        allotment option to purchase additional shares representing no more than 15.00%
        of the number of shares initially offered.

        Alibaba has agreed to subscribe for 730 million A shares as part of the placement
        to strategic investors in the A Share Offering, subject to receipt of required
        regulatory approvals and fulfillment of other customary conditions precedent.

        We understand that the final structure, price and timing of the Offering will be
        contingent upon market conditions and other factors, and there can be no
        assurance as to if and when the Offering will be completed.

        21.     On October 26, 2020, Alibaba filed a Form 6-K with the SEC. Attached as

Exhibit 99.1 was a statement entitled “Ant Group has announced the launch of its concurrent

initial public offerings in Shanghai and Hong Kong,” stating in relevant part:




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       Ant Group Co., Ltd. (“Ant Group”), an unconsolidated related party of Alibaba
       Group Holding Limited (“Alibaba”), today announced the launch of its concurrent
       initial public offerings in Shanghai (the “A Share Offering”) and Hong Kong (the
       “H Share Offering” and together with the A Share Offering, the “Offering”), in
       each case with a fixed price. The offer prices for the A Share Offering and H
       Share Offering have been set at RMB68.80 per share and HK$80.00 per share,
       respectively.

       As previously announced on October 21, 2020, Alibaba has agreed to subscribe
       for 730 million A shares as part of the placement to strategic investors in the A
       Share Offering (the “Subscription”). Based on the offer price of RMB68.80 per
       share, the total consideration for the Subscription would be approximately
       RMB50.2 billion. The Subscription is subject to receipt of required regulatory
       approvals and fulfillment of other customary conditions precedent. Based on the
       subscription of 730 million A shares, Alibaba expects to hold approximately
       31.8% of the equity interest in Ant Group following the Offering, or 31.2% of the
       equity interest in Ant Group if the underwriters exercise in full their options to
       purchase additional shares in both the A Share Offering and H Share Offering.

       22.     The above statements identified in ¶¶ 20-21 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that Ant

Group did not meet listing qualifications or disclosure requirements for certain material matters;

(2) that certain impending changes in the Fintech regulatory environment would impact Ant

Group’s business; (3) that, as a result of the foregoing, Ant Group’s IPO was reasonably likely to

be suspended; and (4) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects were materially misleading and/or lacked a

reasonable basis.

                          Disclosures at the End of the Class Period

       23.     On November 2, 2020, Financial Times reported that Chinese regulators had met

with Ant Group’s its controller Jack Ma, executive chairman Eric Jing, Chief Executive Officer

Simon Hu. The article stated that, though regulators did not provide details, “the Chinese word

used to describe the interview – yuetan – generally indicates a dressing down by authorities.”


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The article also included a statement from Ant Group that it will “implement the meeting

opinions in depth.”

       24.       On November 3, 2020, Ant Group’s IPO was suspended. Ant Group issued a

statement, which stated:

       Ant Group Co., Ltd. (“Ant Group”), an unconsolidated related party of Alibaba
       Group Holding Limited, announced that it was notified by the relevant regulators
       in the PRC today that its proposed A share listing on the Shanghai Stock
       Exchange STAR board is suspended as Ant Group may not meet listing
       qualifications or disclosure requirements due to material matters relating to the
       regulatory interview of its ultimate controller, executive chairman and chief
       executive officer by the relevant regulators and the recent changes in the Fintech
       regulatory environment. Consequently, Ant Group’s concurrent proposed H
       share listing on the Main Board of The Stock Exchange of Hong Kong Limited is
       also suspended.

       25.       According to the Shanghai Stock Exchange, Ant Group had “reported significant

issues such as the changes in financial technology regulatory environment,” which “may result in

[the] company not meeting the conditions for listing or meeting the information disclosure

requirements.”

       26.       According to an article by Bloomberg, “Chinese authorities didn’t give much

detail about the issues behind the suspension, beyond saying that the much-anticipated debut

couldn’t go ahead because there had been ‘significant change’ in the regulatory environment.”

       27.       On this news, the Company’s share price fell $25.27, or 8%, to close at $285.57

per share on November 3, 2020, on unusually heavy trading volume.

                               CLASS ACTION ALLEGATIONS

       28.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired Alibaba securities between October 21, 2020 and November 3,

2020, inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are


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Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Defendants have or had a controlling interest.

        29.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Alibaba’s shares actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of Alibaba shares were traded publicly

during the Class Period on the NYSE. Record owners and other members of the Class may be

identified from records maintained by Alibaba or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        30.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        31.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        32.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Alibaba; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        33.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                UNDISCLOSED ADVERSE FACTS

        34.       The market for Alibaba’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Alibaba’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Alibaba’s securities

relying upon the integrity of the market price of the Company’s securities and market

information relating to Alibaba, and have been damaged thereby.

        35.       During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Alibaba’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

as set forth herein, not false and/or misleading. The statements and omissions were materially

false and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about Alibaba’s business, operations, and prospects as alleged herein.
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         36.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Alibaba’s financial well-being and prospects.           These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein when the truth was

revealed.

                                       LOSS CAUSATION

         37.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

         38.     During the Class Period, Plaintiff and the Class purchased Alibaba’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

         39.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

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disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by

virtue of their receipt of information reflecting the true facts regarding Alibaba, their control

over, and/or receipt and/or modification of Alibaba’s allegedly materially misleading

misstatements and/or their associations with the Company which made them privy to

confidential proprietary information concerning Alibaba, participated in the fraudulent scheme

alleged herein.

                     APPLICABILITY OF PRESUMPTION OF RELIANCE
                         (FRAUD-ON-THE-MARKET DOCTRINE)

       40.        The market for Alibaba’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Alibaba’s securities traded at artificially inflated prices during the Class Period. On

October 27, 2020, the Company’s share price closed at a Class Period high of $317.14 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of Alibaba’s securities and market

information relating to Alibaba, and have been damaged thereby.

       41.        During the Class Period, the artificial inflation of Alibaba’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Alibaba’s business, prospects, and operations.           These material

misstatements and/or omissions created an unrealistically positive assessment of Alibaba and its

business, operations, and prospects, thus causing the price of the Company’s securities to be


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artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company shares. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

         42.     At all relevant times, the market for Alibaba’s securities was an efficient market

for the following reasons, among others:

                 (a)    Alibaba shares met the requirements for listing, and was listed and

actively traded on the NYSE, a highly efficient and automated market;

                 (b)    As a regulated issuer, Alibaba filed periodic public reports with the SEC

and/or the NYSE;

                 (c)    Alibaba regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

                 (d)    Alibaba was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms.        Each of these reports was publicly

available and entered the public marketplace.

         43.     As a result of the foregoing, the market for Alibaba’s securities promptly digested

current information regarding Alibaba from all publicly available sources and reflected such

information in Alibaba’s share price. Under these circumstances, all purchasers of Alibaba’s




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securities during the Class Period suffered similar injury through their purchase of Alibaba’s

securities at artificially inflated prices and a presumption of reliance applies.

       44.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is

not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                       NO SAFE HARBOR

       45.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or
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misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Alibaba who knew that the statement was false when made.

                                           FIRST CLAIM

                          Violation of Section 10(b) of The Exchange Act and
                                 Rule 10b-5 Promulgated Thereunder
                                        Against All Defendants

        46.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        47.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Alibaba’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

defendant, took the actions set forth herein.

        48.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Alibaba’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        49.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Alibaba’s financial

well-being and prospects, as specified herein.

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       50.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Alibaba’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Alibaba and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       51.     Each of the Individual Defendants’ primary liability and controlling person

liability arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.




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       52.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Alibaba’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       53.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Alibaba’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired Alibaba’s securities during the Class Period at artificially high prices and were

damaged thereby.

       54.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff



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and the other members of the Class and the marketplace known the truth regarding the problems

that Alibaba was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Alibaba securities,

or, if they had acquired such securities during the Class Period, they would not have done so at

the artificially inflated prices which they paid.

        55.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.

        56.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                         SECOND CLAIM

                          Violation of Section 20(a) of The Exchange Act
                                Against the Individual Defendants

        57.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        58.     Individual Defendants acted as controlling persons of Alibaba within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions

and their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with

the SEC and disseminated to the investing public, Individual Defendants had the power to

influence and control and did influence and control, directly or indirectly, the decision-making of

the Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements


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alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued

and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

        59.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        60.     As set forth above, Alibaba and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the

Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)     Such other and further relief as the Court may deem just and proper.



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                                JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.

Dated: November 13, 2020                    By:    /s/ Gregory B. Linkh
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                    SWORN CERTIFICATION OF PLAINTIFF


       ALIBABA GROUP HOLDING LIMITED SECURITIES LITIGATION


  I, Laura Ciccarello, certify that:

  1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
          Plaintiff motion on my behalf.

  2.      I did not purchase the Alibaba Group Holding Limited securities that are the
          subject of this action at the direction of plaintiff’s counsel or in order to
          participate in any private action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in Alibaba Group Holding Limited securities during the Class
          Period set forth in the Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:


  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  11/10/2020
________________                         _________________________________________
      Date                                            Laura Ciccarello
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